Case 1:04-cv-01134-.]DT-STA Document 25 Filed 07/25/05 Page 1 of 2 Pa§,e|D 19

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IN THE UNITED STATES DISTRICT COURT 0(<’5* QO
FOR THE WESTERN DISTRICT OF TENNESSEE Q§§,/`“”A, 4/9@ 'Q

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JosE BANUELOS and TINA ) gm
BANUELOS, )
)
Plaintiffs, )
)
Vs. ) No. 04-1134-T
)
CHANDELEUR HoMEs, INC., )
)
Defendant. )

 

ORDER GRANTING IUDGMENT TO DEFENDANT

 

This action came on for trial on July 20 and 21, 2005 . The court sitting Without a jury
heard the evidence and statements of counsel. At the conclusion of the evidence, the court
issued oral findings of fact and conclusions of laW, a transcript of Which Will serve as the
Written findings of fact and conclusions of law pursuant to Fed. R. Civ. P. 52,

For the reasons stated in open court On July 21 , 2005, the court found that plaintiffs had
not carried their burden of proof and that judgment Will be entered for defendant

The clerk will prepare a judgment accordingly.

CMMB@#M

JAM S D TODD
UNII§D STATES DISTRICT .TUDGE

Waewy aaa

DATE

IT IS SO ORDERED.

This document entered on the docket sheet in compliance
with Ru|e 58 and,'or_?§ (a) FFtCP on 1 l§ 2 l l §5__

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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July 27, 2005 to the parties listed.

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Honorable .l ames Todd
US DISTRICT COURT

